C-13-7a              Case 16-50007    Doc 22    Filed 05/04/16         Page 1 of 4
(Rev. 01/12)
 SO ORDERED.

 SIGNED this 4th day of May, 2016.




                                 UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF NORTH CAROLINA
In Re:                                                    )
                                                          )         ORDER CONFIRMING PLAN
                                                          )               Chapter 13
ERIC DEWAN TUTTLE            xxx-xx-4135                  )
212 Williamsgate Court                                    )
Winston-Salem, NC 27107-2010                              )
                                                          )
                                                          )    Case No. B-16-50007 C-13W
                                                          )
                    Debtor(s)                             )

      This case came before the Court, after notice and opportunity for hearing, for
confirmation of the Chapter 13 plan proposed in this case; and IT APPEARING to the
Court as follows:

I.       The   Trustee  in   this  case   is  Kathryn   L.  Bringle,                Standing   Trustee,
         P. O. Box 2115, Winston-Salem, North Carolina 27102-2115;

II.      The attorney for the Debtor(s) is Donald R. Buie;

III.     Under the final plan (the “Plan”) as proposed:

         A.    Plan Payments

               1.    The Debtor(s) is/are to make monthly payments to the Trustee which
                     are to be disbursed by the Trustee in accordance with the Plan and
                     this Order;

               2.    The monthly plan   payment      to       the   Trustee   is   $1,305.00   beginning
                     February 2016;

         B.    Administrative Costs

               1.    Attorney Fees. The Attorney for the Debtor(s) is allowed the base fee
                     of $3,700.00. The Attorney has received $257.00 from the Debtor(s)
                     pre-petition and the remainder of the base fee will be paid by the
                     Trustee as funds are available.

               2.    Trustee costs. The Trustee will receive from all disbursements such
                     amount as approved by the Court for payment of fees and expenses.




                                               -1-
                    Case 16-50007     Doc 22    Filed 05/04/16   Page 2 of 4
Tuttle
16-50007 C-13W


C.    Priority Claims

      Any timely filed claims entitled to priority under 11 U.S.C. §507, on behalf of
      the entities listed below, will be paid in full in deferred cash payments unless
      otherwise indicated.

      1.   Internal Revenue Service

      2.   North Carolina Department of Revenue

      3.   Forsyth County Tax Collector


D.    Secured Claims

      1.   Long-term Debts – To be paid by Trustee.

                                                                                       Monthly
                                      Claim             Monthly                        Payment
       Creditor & Property            Filed    Monthly Payment Arrears    Arrears         on
                                      (Y/N)    Payment to Begin Through    Amount      arrears
Roundpoint Mortgage Servicing           N      $729.00   4/2016  3/2016 $20,900.00       All
Corporation                                      with                    estimated    available
RESIDENCE. 1st lien                             escrow
212 Williamsgate Court
Winston-Salem, NC


      2.   Secured Claims To Be Paid In Full - Personal Property

                                                Claim
Creditor & Property                             Filed       Claim    Monthly   Interest    AP
                                                (Y/N)      Amount    Payment     Rate   Payment
North American                                    Y      $2,050.00   $200.00     5.5%    $30.00
2001 Honda Accord


E.   General Unsecured Claims Not Separately Classified.

     General unsecured claims not separately classified will be paid as funds become
     available after payment of costs of administration.   The estimated dividend to
     general unsecured claims is 1%.


     Ditech Financial, LLC
     Claim not filed.

     Possible second deed of trust on real property located at 212 Williamsgate Court in
     Winston-Salem, North Carolina.

     The Debtor states that the value of the real property is $78,000.00 and that the
     balance due on the first deed of trust lien is approximately $79,060.00. There is
     no value in the real property above the first deed of trust lien.


Continued on next page



                                               -2-
Tuttle             Case 16-50007   Doc 22     Filed 05/04/16   Page 3 of 4
16-50007 C-13W

Continued from previous page


     Any timely filed claim will be classified as an unsecured claim for purposes of
     disbursements by the Trustee, thereby allowing the Creditor to receive funds if
     they become available for unsecured creditors unless a party in interest objects.
     This treatment is conditioned on the requirement that the Debtor files the
     appropriate pleading so a hearing can be held to establish the value of the
     collateral and the permanent classification of the claim.


F.   Special Provisions

     New Williamsgate HOA – Homeowner association dues

     Post-petition dues – Post-petition dues will be paid by the Trustee beginning with
     the payment due February 2016.    The Debtor believes the payments are currently
     $15.00 per month. No payments will be disbursed until the Creditor files a proof
     of claim.


     Pre-petition dues – If the Creditor files a timely proof of claim for pre-petition
     dues, the claim will be classified as an unsecured general claim unless the
     Creditor provides evidence of a lien.


G.   The Debtor(s) will pay THE GREATER OF the amount necessary to pay all allowed
     costs of administration, priority and secured claims in full, with the exception
     of continuing long term debts, OR a minimum of 60 monthly plan payments, with the
     additional requirement that unsecured general creditors receive $2,000.00 because
     of disposable income, with the plan to be reviewed in twelve (12) months and
     periodically thereafter for plan payment adjustments;


H.   The terms and provisions of the Amended Standing Order dated March 11, 2016 are
     incorporated in this Order and are available on the Court’s website at
     www.ncmb.uscourts.gov


I.   IT FURTHER APPEARING to the Court that the Plan complies with the requirements of
     11 U.S.C. §1325; therefore, it is


     ORDERED that the Plan is confirmed.


                                           END OF DOCUMENT




                                             -3-
                 Case 16-50007 Doc 22 Filed 05/04/16   Page 4 of 4
                             PARTIES TO BE SERVED
                                  PAGE 1 OF 1
                                 16-50007 C-13W



Kathryn   L. Bringle
Chapter   13 Trustee
P O Box   2115
Winston   Salem, NC 27102-2115
